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FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                                                                              Appendix 4
Guideline Public Company Metrics                                                                                                                                                                                                                                               ($US in Thousands)
As of November 14, 2021




                          TTM Revenues                                                          TTM EBITDA Margin                                                    NFY Proj. EBITDA Margin                                               NFY + 1 Proj. EBITDA Margin
   The Charles Schwab Corporation                       17,988,000         Hong Kong Exchanges and Clearing Limited                    75.5%       Hong Kong Exchanges and Clearing Limited                    77.9%       Digital Assets DA AG                                       83.0%
   Intercontinental Exchange, Inc.                       6,977,000         Interactive Brokers Group, Inc.                             69.6%       Digital Assets DA AG                                       64.3%        Hong Kong Exchanges and Clearing Limited                    79.1%
   Coinbase Global, Inc.                                 5,924,610         Intercontinental Exchange, Inc.                             60.7%       Intercontinental Exchange, Inc.                             63.6%       Intercontinental Exchange, Inc.                             64.5%
   Nasdaq, Inc.                                          5,881,000         Euronext N.V.                                               55.4%       Euronext N.V.                                               59.8%       Euronext N.V.                                               61.7%
   E*TRADE Financial, LLC                                2,895,000         Coinbase Global, Inc.                                       55.0%       Nasdaq, Inc.                                                55.6%       Nasdaq, Inc.                                                54.9%
   Interactive Brokers Group, Inc.                       2,737,000         The Charles Schwab Corporation                              49.8%       The Charles Schwab Corporation                              52.5%       The Charles Schwab Corporation                              54.3%
   Hong Kong Exchanges and Clearing Limited              2,712,049         E*TRADE Financial, LLC                                      45.2%       Coinbase Global, Inc.                                       51.2%       Coinbase Global, Inc.                                       43.6%
   Robinhood Markets, Inc.                               1,769,972         Nasdaq, Inc.                                                31.1%       Voyager Digital Ltd.                                        33.6%       Voyager Digital Ltd.                                        39.0%
   Euronext N.V.                                         1,391,962         ADVFN Plc                                                   17.8%       Robinhood Markets, Inc.                                      2.6%       Robinhood Markets, Inc.                                     13.1%
   Voyager Digital Ltd.                                    254,562         Voyager Digital Ltd.                                        -2.7%       Interactive Brokers Group, Inc.                              0.0%       Interactive Brokers Group, Inc.                              0.0%
   ADVFN Plc                                                12,629         Robinhood Markets, Inc.                                    -67.3%
   Digital Assets DA AG                                        -

   Guideline Public Company Average                      4,413,071                                                                     35.5%                                                                  44.1%                                                                   45.6%
   Guideline Public Company Median                       2,737,000                                                                     49.8%                                                                  52.5%                                                                   54.3%




                           Total Assets                                           Debt Free NWC as % of Revenue (Excld. Cash)                                    Depreciation as a % of Revenues                                             Capex as % of TTM Sales
   The Charles Schwab Corporation                      607,548,000         Intercontinental Exchange, Inc.                    12.3%                Intercontinental Exchange, Inc.                            11.8%        Hong Kong Exchanges and Clearing Limited                       6.4%
   Euronext N.V.                                       177,482,151         Coinbase Global, Inc.                               5.3%                The Charles Schwab Corporation                              6.3%        E*TRADE Financial, LLC                                         5.0%
   Intercontinental Exchange, Inc.                     150,662,000         Voyager Digital Ltd.                                3.5%                Euronext N.V.                                               6.1%        The Charles Schwab Corporation                                 4.3%
   Interactive Brokers Group, Inc.                     106,282,000         Nasdaq, Inc.                                        0.5%                Nasdaq, Inc.                                                4.3%        Intercontinental Exchange, Inc.                                3.0%
   E*TRADE Financial, LLC                               70,371,000         Euronext N.V.                                      -8.7%                E*TRADE Financial, LLC                                      3.7%        Robinhood Markets, Inc.                                        3.0%
   Hong Kong Exchanges and Clearing Limited             56,399,108         ADVFN Plc                                         -12.6%                Hong Kong Exchanges and Clearing Limited                    3.3%        Nasdaq, Inc.                                                   2.9%
   Robinhood Markets, Inc.                              19,317,368         Robinhood Markets, Inc.                          -113.6%                Interactive Brokers Group, Inc.                             2.6%        Interactive Brokers Group, Inc.                                2.6%
   Coinbase Global, Inc.                                18,454,271         E*TRADE Financial, LLC                           -136.0%                ADVFN Plc                                                   2.0%        Euronext N.V.                                                  1.8%
   Nasdaq, Inc.                                         18,397,000         Interactive Brokers Group, Inc.                 -1118.3%                Coinbase Global, Inc.                                       0.8%        ADVFN Plc                                                      0.6%
   Voyager Digital Ltd.                                  4,656,293         Hong Kong Exchanges and Clearing Limited        -1670.1%                Robinhood Markets, Inc.                                     0.7%        Coinbase Global, Inc.                                          0.1%
   Digital Assets DA AG                                   132,222          The Charles Schwab Corporation                  -2208.7%                Voyager Digital Ltd.                                        0.5%        Voyager Digital Ltd.                                           0.0%

   Guideline Public Company Average                    111,779,689                                                                   -476.9%                                                                    3.8%                                                                      2.7%
   Guideline Public Company Median                      56,399,108                                                                    -12.6%                                                                    3.3%                                                                      2.9%

Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included herein. Some totals may not add due to rounding.




                                                                                                                                                                                                                                                                                          A.0224
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:                                               Chapter 11

 FTX TRADING LTD., et al.,                            Case No. 22-11068 (JTD)

          Debtors.                                    (Jointly Administered)



 FTX TRADING LTD. and MACLAURIN
 INVESTMENTS LTD.,

 Plaintiffs,

                      -against-                       Adv. Pro. No. 23-50437 (JTD)
 LOREM IPSUM UG, PATRICK GRUHN,
 ROBIN MATZKE, and BRANDON
 WILLIAMS,

                                  Defendants.




 FIRST SET OF DOCUMENT REQUESTS BY DEFENDANTS LOREM IPSUM UG,
PATRICK GRUHN, AND ROBIN MATZKE TO DEFENDANT BRANDON WILLIAMS

          PLEASE TAKE NOTICE that pursuant to Rule 34 of the Federal Rules of Civil

Procedure, made applicable in the above-captioned adversary proceeding by Rule 7034 of the

Federal Rules of Bankruptcy Procedure, Defendants Lorem Ipsum UG, Patrick Gruhn, and Robin

Matzke, by their undersigned attorneys, hereby propound the following requests for production to

Defendant Brandon Williams (“Requests” and each a “Request”). The Demanding Defendants

request that Williams respond to the following Requests within thirty (30) days from the date of

their service and produce all responsive documents at the offices of Pachulski Stang Ziehl & Jones

LLP, 919 North Market Street, 17th Floor Wilmington, DE 19801.




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                                          DEFINITIONS

        1.      The terms “concerning,” “regarding,” “referring to” and “relating to” (or an any

variation thereof) mean describing, discussing, constituting, containing, considering, embodying,

evaluating, mentioning, memorializing, supporting, collaborating, demonstrating, proving,

evidencing, showing, refuting, disputing, rebutting, regarding, controverting, contradicting, made

in connection with or by reason of, or derived or arising therefrom.

        2.      The terms “and” and “or” shall be interpreted in every instance as meaning

“and/or” and shall not, in either instance, be interpreted disjunctively to exclude any document or

information otherwise within the scope of any description or request herein.

        3.      The use of the present tense includes the past tense, the use of the past tense shall

include the present tense, and the use of any verb in any tense shall be construed as including the

use of that verb in all other tenses.

        4.      Words and phrases not defined shall have their ordinary and plain meaning within

the context of the Federal Rules of Civil Procedure (“Federal Rules”) and the Federal Rules of

Bankruptcy Procedure (“Bankruptcy Rules”) and in accordance with the generally accepted

meaning accorded such words and phrases in everyday use in the English language.

        5.      “Adversary Proceeding” refers to the above-captioned adversary proceeding,

specifically, FTX Trading Ltd. and Maclaurin Investments Ltd. v. Lorem Ipsum UG, Patrick

Gruhn, Robin Matzke, and Brandon Williams, Case No. 23-50437 (JTD) (Bankr. D. Del.).

        6.      “Bankruptcy Proceeding” refers to the above-captioned main Chapter 11

bankruptcy proceeding of the jointly administered Debtors pending in the United States

Bankruptcy Court for the District of Delaware, Case No. 22-11068 (JTD).




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       7.      “Communication” means the transmittal of information of any kind, in any form,

and by any means, and therefore includes, but is not limited to, any telephone conversation,

face-to-face meeting or conversation, visit, conference, internal or external discussion, or exchange

of Documents (defined below). All written Communications shall include, without limitation,

electronic, printed, typed, handwritten or other readable Documents, correspondence, memos,

reports, contracts, both initial and subsequent, diaries, logbooks, minutes, notes, studies, surveys,

forecasts, emails, text messages, and instant messages. A Document Request (defined below)

concerning any Communication among or between specified parties includes a request for any

Communication among or between such parties, whether or not such Communication included or

was directed to any other person.

       8.      “Complaint” means the Complaint for Avoidance and Recovery of Transfers, and

Obligations Pursuant to 11 U.S.C. §§ 105, 547, 548, and 550, Breach of Fiduciary Duty Pursuant

to Antiguan Common Law and the Antigua International Business Corporations Act, and for

Disallowance of Claims Pursuant to 11 U.S.C. § 502(d), filed on July 12, 2023 [Adv. P. No. 1] in

the Adversary Proceeding.

       9.      “Cosima Capital” refers to Cosima Capital, described in the Complaint as a

“digital asset and cryptocurrency advisory and trading firm.”

       10.     “Crypto Lawyers” refers to Crypto Lawyers GmbH, a/k/a K & G Lawyers for

International Business and Tax Law GmbH, a/k/a Canco GmbH.

       11.     “DAAG” refers to Digital Assets DA AG, now known as FTX Europe AG, and its

wholly owned subsidiaries.

       12.     “DAAG Acquisition” refers to the acquisition of DAAG and its subsidiaries by

FTX Trading, as described in Paragraphs 49-77 of the Complaint.




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       13.     “Debtors” refers to the entities jointly administered in the Bankruptcy Proceeding.

       14.     “Demanding Defendants” refers collectively to LI, Gruhn, and Matzke (each

defined below).

       15.     “Defendants” refers collectively to LI, Gruhn, Matzke, and Williams.

       16.     “Describe” means: (a) explain fully by reference to underlying facts rather than by

ultimate facts or conclusions of fact or law; (b) where applicable, particularize as to: (i) time,

(ii) date, and (iii) manner; and (c) identify each and every person having personal knowledge of

such facts.

       17.     “Document(s)” is defined to be synonymous in meaning and equal in scope to the

usage of the term “documents or electronically stored information” in Federal Rule 34(a)(1)(A).

Specifically, Federal Rule 34(a)(1)(A) provides:

       Any designated documents or electronically stored information—including
       writings, drawings, graphs, charts, photographs, sound recordings, images, and
       other data or data compilations—stored in any medium from which information can
       be obtained either directly or, if necessary, after translation by the responding party
       into a reasonably usable form . . . .

Fed. R. Civ. P. 34(a)(1)(A). The term “Document” includes all originals, translations, non-

identical copies, and copies with marginal notations or interlineations. A draft or non-identical

copy is a separate Document within the meaning of this term. “Document” also includes all

Electronically Stored Information.

       18.     “Document Request” or “Request” refers to the individual Requests for

Production of Documents set forth in this Request.

       19.     “Earn-Out Payments” refers to the “earn-out payments” described in Paragraph

68 of the Complaint.




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       20.     “Electronically Stored Information” has the broadest possible meaning under

Federal Rule 34 and refers to all computer or electronically stored or generated data and

information and includes all attachments to and enclosures with any requested item, and all drafts

thereof. “Electronically Stored Information” includes information stored in any format and on any

storage media, including: hard disks; floppy disks; optical disks; flash memory devices; and

magnetic tape, whether fixed, portable, or removable. “Electronically Stored Information”

includes: word-processing Documents; electronic spreadsheets; electronic presentation

Documents; email messages; image files; sound files; and material or information stored in a

database, or accessible from a database. “Electronically Stored Information” also includes all

associated metadata that is maintained or saved, which includes: a Document’s title or name; file

name; date and time of creation; date and time of last edit; identity of author; identity of owner;

identities of editors; identities of recipients; changes; history of changes; email header information;

history of who viewed an email and when; and email routing information.

       21.     “FTX Group” refers to the entities and individuals referenced in Footnote 2 of the

Complaint, individually and/or collectively.

       22.     “FTXT” refers to FTX Trading Ltd., a corporation described in Paragraph 14 of

the Complaint as registered in Antigua and Barbuda with a principal place of business formerly in

Nassau, Bahamas.

       23.     “Gruhn” refers to Defendant Patrick Gruhn.

       24.     “Instructions” refers to the instructions following this “Definitions” section of

these Requests.

       25.     “IP” means recognized protectable rights and interests, such as patents, copyrights,

trademarks, service marks, applications for any of the foregoing, inventions, trade secrets, trade




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dress, domain names, logos, insignia, color combinations, slogans, moral rights, right of publicity,

author’s rights, contract and licensing rights, works, industrial design rights, rights of priority,

know how, design flows, methodologies, devices business processes, developments, innovations,

good will, and all other legal rights protecting intangible proprietary information.

       26.       “K-DNA” refers to K-DNA Financial Services Ltd., as described in Paragraph 6 of

the Complaint.

       27.       “K-DNA SPA” refers to the October 22, 2021 share purchase agreement described

in Paragraph 86 of the Complaint.

       28.       “Lorum Ipsum” or “LI” refers to Defendant Lorem Ipsum UG, a/k/a Lorem Ipsum

RM UG, a German company.

       29.       “Maclaurin” refers to Maclaurin Investments Ltd., f/k/a Alameda Ventures Ltd.,

described in Paragraph 15 of the Complaint as a corporation registered in Seychelles.

       30.       “Matzke” refers to Defendant Robin Matzke.

       31.       “Person” has the meaning set forth in 11 U.S.C. § 101(41).

       32.       “Plaintiffs” refers to: (a) FTXT, and (b) Maclaurin.

       33.       “Plaintiffs’ Initial Disclosures” refers to Plaintiffs’ Initial Disclosures Pursuant to

Rule 26(a)(1)(A) dated September 27, 2023.

       34.       “Professionals” refers to individuals or entities engaged in specific occupations or

fields of expertise that require specialized knowledge, training, and qualifications, and includes,

but is not limited to, lawyers, attorneys, solicitors, barristers, accountants, investment bankers,

financial advisors, consultants, and other licensed or certified practitioners, as well as any

organizations, firms, or associations employing individuals in such occupations.

       35.       “Ukaj” refers to Ernest Ukaj.




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       36.     “SBF” refers to Samuel Bankman-Fried.

       37.     “You” or “Your” refers to Defendant Brandon Williams and his agents,

representatives, or any other Person acting on his behalf.

       38.     Terms used in the Requests but not otherwise defined shall have the meanings

ascribed to them in the Complaint.

                                        INSTRUCTIONS

       1.      The preceding Definitions apply to these Instructions and each of the succeeding

Document Requests.

       2.      The information requested herein is not restricted to Your personal knowledge, but

includes information in the possession of or available to any of Your agents, representatives, and/or

Professionals. Persons responding to these Document Requests on Your behalf are directed to

make a diligent search of all records within Your possession, custody, or control, including Your

paper files and Electronically Stored Information.

       3.      You are required to produce the originals or legible exact copies of all Documents

described in the Document Request in Your actual or constructive possession. Documents attached

to each other should not be separated. To the extent that a Document Request calls for more

detailed information than is available, respond to such Document Request by providing all

responsive information that is available and an explanation of why the remaining information is

not available to You. If there are no Documents in Your possession, custody, or control that are

responsive to a Document Request, state so with particularity in writing. A negative response to a

Document Request will be understood to be a representation that You have no responsive

information in any lesser detail.




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       4.      All Documents shall be produced in an orderly manner (and with appropriate

markings or other identification) so that the Demanding Defendants will be able to identify: (a) the

source of the Document; (b) the file in which the Document is or was maintained; (c) the person

to whom such file belongs or belonged; and (d) the specific Document Request to which the

Document is responsive. In responding to the Document Request, set forth the Request in full

before providing the response and specify the particular Bates range responsive to each individual

Document Request.

       5.      You shall produce all Documents in the manner in which they are maintained in the

ordinary course of Your business. A request for a Document shall be deemed to include a request

for any and all file folders within which a Document was contained, transmittal sheets, cover

letters, exhibits, enclosures, or attachments to a Document in addition to the Document itself.

       6.      Excel or equivalent spreadsheets shall be produced in native format with cell data

and formulas populated. Where a native file is in color, the corresponding .pdf and .tiff files shall

also be in color. All imbedded sound files shall be produced.

       7.      Documents should be produced with only one data load file (“DAT”) and one image

pointer file (“OPT”). All document family groups, i.e. email attachments (including modern

attachments), embedded files, etc., should be produced together and children files should follow

parent files sequentially in the Bates numbering. All members of the family have the same group

identifier (which means it repeats for all records in the group) this identifier is populated in the

PRODBEGATT field. All productions should be globally de-duplicated unless otherwise agreed

upon by the parties. If you are producing iMessages, Short Message Service files or instant

messenger services such as but not limited to: Slack, Signal, Discord, Microsoft Teams, Telegram,

Text messages (MMS, SMS, iMessage, Whatsapp), Google Chat, Bloomberg Chat, Instagram,




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they should be produced with the entire conversation and the family group as one file or produced

no smaller than by day (24-hour period) ensuring that the entire conversation thread is maintained

in a family group. We request that for time zone consideration; normalization of the date and time

stamps of all ESI data to the specific zone of UTC unless otherwise agreed upon by the parties.

       8.      The following delivery format should be followed:


            a. Black and white images must be 300 DPI Group IV single-page TIFF files. Color
               images must be produced in JPEG format.

            b. All image files must have a unique file name. There should be no gaps in the image
               set.

            c. The number of TIFF files per folder should not exceed 500 files.

            d. Some document types will not be imaged for production unless redactions are
               applied, i.e. spreadsheets those documents should be produced in native format with
               a slip-sheet included with the image collection indicating, “Document Produced in
               Native Format”, titled after the PRODBEG of the native files, there should be no
               gaps in the image collection.

            e. For production with native files, a NATIVELINK field must be included to provide
               the file path and name of the native file on the produced storage media. Native file
               documents must be named per the first bates number. The full path of the native file
               must be provided in the .DAT file for the NATIVELINK field. The number of native
               files per folder should not exceed 500 files.

            f. Each page of every document should be endorsed with the bates number on the
               lower right corner of each page of the document.

            g. If documents require an additional endorsement, the additional endorsement should
               be placed in the lower right corner of each page of the document .

            h. The export will include the following load files: DAT and OPT files

                    i. The data file (.DAT) contains all of the fielded information that will be
                       loaded into the Relativity® database. The first line of the .DAT file must
                       be a header record identifying the field names. The .DAT file must use the
                       following Concordance® default delimiters:

                           1. Comma ASCII character 20



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                      2. Quote þ ASCII character 254

                      3. Newline ® ASCII character 174

              ii. Date fields should be provided in the Date/Time format, i.e. 05/28/2016
                  7:11 AM. Dates must be in a valid format. For example, 01/00/2000 or
                  00/00/0000 are not valid dates.

             iii. The image cross-reference file is needed to link the images to the database.
                  It is a comma-delimited file consisting of seven fields per line. There must
                  be a line in the cross-reference file for every image in the database.

       i. Text must be produced as separate document-level text files, not as fields within
          the .DAT file. Text files may be in either ANSI or Unicode format, however, ALL
          text files must be in the same format within the same production. The TEXTPATH
          field must be included to provide the file path and name of the extracted text file on
          the produced storage media. The text file must be named after the
          ProdBeg. PLEASE DO NOT include the text in the .DAT file.

       j. If any Document responsive to any Document Request is no longer in Your
          possession, custody, control or care, state whether the Document: (a) is missing or
          lost; (b) has been destroyed; (c) has been transferred voluntarily or involuntarily to
          others; or (d) has been otherwise disposed of or discarded. In each such situation,
          set forth the facts surrounding such disposition, identify the person(s) directing or
          authorizing the disposition, and list the disposition date.

9. All Documents shall be produced with metadata, including

          PRODBEG
          PRODEND
          PRODBEGATT (BegAtt and EndAtt fields must be two separate fields.)
          PRODENDATT (BegAtt and EndAtt fields must be two separate fields.)
          CUSTODIAN
          ALL CUSTODIANS
          DOCTYPE
          PARENT DATE/TIME – this field is an aggregated date field which is
          harmonized and carried down through all attachments and family members.
          FROM
          TO
          PARTICIPANTS
          CC
          BCC
          SUBJECT
          SENT DATE/TIME
          RECEIVED DATE/TIME



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               CREATED DATE/TIME
               LAST MODIFIED DATE/TIME
               BEGIN DATE – Populated for any short messages produced
               END DATE – Populated for any short messages produced
               CHAT TYPE
               TIMEZONE
               FILENAME
               ORIGINAL FILE PATH
               FILE EXT
               AUTHOR
               REDACTED – Populated with a value (i.e. Redacted, Has Redactions or Y) when
               the document has a redaction
               FILESIZE
               MD5HASH
               MESSAGEID
               ConversationThreadID
               PageCount
               PROD_VOLUME
       10.     If any Document responsive to any Document Request has been lost, removed,

destroyed, or altered prior to the service of this Request, produce for each such Document: (a) a

description of the Document to the extent known, and the last time and location that the Document

is known or believed to have existed; (b) the date, sender, recipient and other Person(s) to whom

copies were sent, subject matter, present location, and location of any copies; and (c) the identity

of any Person authorizing or participating in any removal, destruction, or alteration of the

Document, and the method and circumstances of such removal, destruction, or alteration.

       11.     Any Document withheld from production based on privilege or any similar claim

shall be identified by: (a) the type of document; (b) the general subject matter of the Document;

(c) the date of the Document; and (d) such other information as is sufficient to identify the

Document, including the author of the Document, the addressee of the Document, other recipients

of the Document, and, where not apparent, the relationship of the author and the addressee to each

other. The nature of each claim of privilege shall be set forth.




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       12.     If You object to any part of any Document Request, You shall state fully the nature

of the objection. Notwithstanding any objections, You shall nonetheless comply fully with the

other parts of the Document Request not objected to.

       13.     If at any time additional Documents responsive to any Document Request comes

into Your possession, custody, or control or are brought to Your attention, prompt supplementation

of Your response to the Document Request is required.

       14.     You are required to preserve and maintain any Documents that are related to the

subject matter of the Document Requests, regardless of whether You deem them responsive to the

Document Requests. You shall instruct Your employees, contractors, Professionals, and agents to

do the same and shall take steps to ensure that they fulfill these obligations.

       15.     The Demanding Defendants reserve the right to request additional Documents, as

needed, and to submit additional or supplemental requests, provided, further, that it expressly

reserves its rights to supplement or amend the Document Requests.

       16.     The Document Requests are continuing in nature and the Defendant is required to

supplement its responses as it obtains further information relating to its answers provided herein.

       17.     Unless otherwise specified, the relevant period for the Document Requests shall be

from January 1, 2020 through the present.

                               REQUESTS FOR PRODUCTION

       1.      Documents and communications regarding your relationship with SBF and/or any

Debtor, including about any potential acquisitions of DAAG by Debtors.

       2.      Documents and communications regarding any payments between or among You,

Debtors, Plaintiffs, and Demanding Defendants.




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       3.      Communications with any of the individuals and entities listed in Your Initial

Disclosures.

       4.      Documents and communications regarding Your purchases and sales of FTT or

SRM tokens.

       5.      Documents and communications with, about, or regarding DAAG and/or

Defendants.

       6.      Documents and communications regarding any and all regulatory and operating

licenses held by DAAG, including applications therefor.

       7.      Documents and communications regarding any and all formal or informal

valuations of DAAG.

       8.      Documents and communications regarding a proposed business deal between FTX

and DAAG as described in Paragraphs 52-56 of the Complaint, including any internal or external

communications or negotiations preceding or leading to such documents, and any due diligence in

connection with such documents and transactions.

       9.      Documents and communications regarding SPA 1 and the other transactions and

documents described in Paragraph 56 of the Complaint, including any internal or external

communications or negotiations preceding or leading to such documents, and any due diligence in

connection with such documents and transactions.

       10.     Documents and communications regarding the price and valuation described in

Paragraph 58 of the Complaint, including but not limited to all documents and communications

concerning how such figures were derived.

       11.     Documents and communications regarding SPA 2, as described in Paragraphs 60-

62 of the Complaint, including any internal or external communications or negotiations preceding




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